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                                                                        [PUBLISH]

               IN THE UNITED STATES COURT OF APPEALS

                        FOR THE ELEVENTH CIRCUIT
                          ________________________

                                No. 19-14434
                          ________________________

                   D.C. Docket No. 8:19-cv-00983-TPB-TGW



RICHARD HUNSTEIN,

                                                               Plaintiff - Appellant,

                                     versus

PREFERRED COLLECTION AND MANAGEMENT SERVICES, INC.,

                                                             Defendant - Appellee.

                          ________________________

                   Appeal from the United States District Court
                       for the Middle District of Florida
                         ________________________

                                 (April 21, 2021)

Before JORDAN, NEWSOM, and TJOFLAT, Circuit Judges.

NEWSOM, Circuit Judge:

      This appeal presents an interesting question of first impression under the

Fair Debt Collection Practices Act—and, like so many other cases arising under
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federal statutes these days, requires us first to consider whether our plaintiff has

Article III standing.

      The short story: A debt collector electronically transmitted data concerning

a consumer’s debt—including his name, his outstanding balance, the fact that his

debt resulted from his son’s medical treatment, and his son’s name—to a third-

party vendor. The third-party vendor then used the data to create, print, and mail a

“dunning” letter to the consumer. The consumer filed suit alleging that, in sending

his personal information to the vendor, the debt collector had violated 15 U.S.C. §

1692c(b), which, with certain exceptions, prohibits debt collectors from

communicating consumers’ personal information to third parties “in connection

with the collection of any debt.” The district court rejected the consumer’s reading

of § 1692c(b) and dismissed his suit. On appeal, we must consider, as a threshold

matter, whether a violation of § 1692c(b) gives rise to a concrete injury in fact

under Article III, and, on the merits, whether the debt collector’s communication

with its dunning vendor was “in connection with the collection of any debt.”

      We hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in

fact under Article III and (2) that the debt collector’s transmittal of the consumer’s

personal information to its dunning vendor constituted a communication “in

connection with the collection of any debt” within the meaning of § 1692c(b).




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Accordingly, we reverse the judgment of the district court and remand for further

proceedings.

                                         I

      Congress enacted the FDCPA “to eliminate abusive debt collection practices

by debt collectors” and “to protect consumers against debt collection abuses.” 15

U.S.C. § 1692(e). To that end, § 1692c(b) of the FDCPA, titled “Communication

with third parties,” provides that—

      Except as provided in section 1692b of this title, without the prior
      consent of the consumer given directly to the debt collector, or the
      express permission of a court of competent jurisdiction, or as
      reasonably necessary to effectuate a postjudgment judicial remedy, a
      debt collector may not communicate, in connection with the collection
      of any debt, with any person other than the consumer, his attorney, a
      consumer reporting agency if otherwise permitted by law, the creditor,
      the attorney of the creditor, or the attorney of the debt collector.

15 U.S.C. § 1692c(b). The provision that § 1692c(b) cross-references—§ 1692b—

governs the manner in which a debt collector may communicate “with any person

other than the consumer for the purpose of acquiring location information.” 15

U.S.C. § 1692b. The FDCPA thus broadly prohibits a debt collector from

communicating with anyone other than the consumer “in connection with the

collection of any debt,” subject to several carefully crafted exceptions—some

enumerated in § 1692c(b), and others in § 1692b.

      Richard Hunstein incurred a debt to Johns Hopkins All Children’s Hospital

arising out of his son’s medical treatment. The hospital assigned the debt to
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Preferred Collections & Management Services, Inc. for collection. Preferred in

turn hired Compumail, a California-based commercial mail vendor, to handle the

collection. Preferred electronically transmitted to Compumail certain information

about Hunstein, including, among other things: (1) his status as a debtor, (2) the

exact balance of his debt, (3) the entity to which he owed the debt, (4) that the debt

concerned his son’s medical treatment, and (5) his son’s name. Compumail used

that information to generate and send a dunning letter to Hunstein.

       Hunstein filed a complaint, alleging violations of both the FDCPA, see 15

U.S.C. §§1692c(b) and 1692f, and the Florida Consumer Collection Practices Act,

see Fla. Stat. § 559.72(5). As relevant here, the district court dismissed Hunstein’s

action for failure to state a claim, concluding that he hadn’t sufficiently alleged that

Preferred’s transmittal to Compumail violated § 1692c(b) because it didn’t qualify

as a communication “in connection with the collection of a[ny] debt.” 1




1
  The district court held for the same reason that Hunstein had not stated a claim for a violation
of § 1692f. The district court then declined to accept supplemental jurisdiction over Hunstein’s
state law claim. Hunstein’s appeal addresses only the portion of his complaint relating to
§ 1692c(b).

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       Hunstein appealed, and we requested supplemental briefing on the question

whether he had Article III standing to sue, which we now consider along with the

merits.2

                                                II

       First things first. Because standing implicates our subject matter

jurisdiction, we must address it at the outset, before turning to the merits. Steel Co.

v. Citizens for a Better Env’t, 523 U.S. 83, 101–02 (1998). Article III of the

Constitution grants federal courts “judicial Power” to resolve “Cases” and

“Controversies.” U.S. Const. art. III, §§ 1–2. This case-or-controversy

requirement, which has been construed to embody the doctrine of standing,

“confines the federal courts to a properly judicial role.” Spokeo, Inc. v. Robins,

136 S. Ct. 1540, 1547 (2016). The “irreducible constitutional minimum” of Article

III standing entails three elements: injury in fact, causation, and redressability.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–561 (1992).

       Hunstein’s appeal involves the first element, injury in fact, which consists of

“an invasion of a legally protected interest” that is both “concrete and

2
  Whether Hunstein has standing to sue is a threshold jurisdictional question that we review de
novo. Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1083 (11th Cir. 2019). “We
review the decision to dismiss Plaintiff’s complaint pursuant to Rule 12(b)(6) de novo, applying
the same standard as the district court.” Holzman v. Malcolm S. Gerald & Assocs., Inc., 920
F.3d 1264, 1268 (11th Cir. 2019). Accepting the complaint’s allegations as true and construing
the facts in the light most favorable to Hunstein, “the relevant inquiry is whether Plaintiff has
stated a ‘plausible claim for relief’ under the FDCPA.” Id. (quoting Ashcroft v. Iqbal, 556 U.S.
662, 679 (2009)).

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particularized” and “actual or imminent, not conjectural or hypothetical.” Id. at

560 (quotation marks omitted). In Trichell v. Midland Credit Mgmt., Inc., 964

F.3d 990 (11th Cir. 2020), a case involving the FDCPA, we reiterated that “[e]ach

subsidiary element of injury—a legally protected interest, concreteness,

particularization, and imminence—must be satisfied.” Id. at 996–97. The standing

question here implicates the concreteness sub-element.

      A plaintiff can meet the concreteness requirement in any of three ways.

First, he can allege a tangible harm—a category that is “the most obvious and

easiest to understand” and that includes, among other things, physical injury,

financial loss, and emotional distress. See Muransky v. Godiva Chocolatier, Inc.,

979 F.3d 917, 926 (11th Cir. 2020) (en banc); see also Huff v. TeleCheck Servs.,

Inc., 923 F.3d 458, 463 (6th Cir. 2019). Second, a plaintiff can allege a “risk of

real harm.” Muransky, 979 F.3d at 927. Third, in the absence of a tangible injury

or a risk of real harm, a plaintiff can identify a statutory violation that gives rise to

an intangible-but-nonetheless-concrete injury. Spokeo, 136 S. Ct. at 1549. We

consider each possibility in turn.

                                            A

      Hunstein doesn’t allege a tangible harm. The complaint contains no

allegations of physical injury, financial loss, or emotional distress. Instead, the

complaint (1) conclusorily asserts that “[i]f a debt collector ‘conveys information


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regarding the debt to a third party—informs the third party that the debt exists or

provides information about the details of the debt—then the debtor may well be

harmed by the spread of this information,’” and (2) vaguely references the “known,

negative effect that disclosing sensitive medical information to an unauthorized

third-party has on consumers[.]” In his supplemental brief, Hunstein asks us to

construe these assertions as allegations of emotional harm, arguing that he was

“humiliated, embarrassed, and suffered severe anxiety[.]” But we have “repeatedly

held that an issue not raised in the district court and raised for the first time in an

appeal will not be considered by this court.” Access Now, Inc. v. Sw. Airlines Co.,

385 F.3d 1324, 1331 (11th Cir. 2004) (quotation marks omitted). Hunstein thus

cannot establish standing on the basis of a tangible harm.

                                            B

      Nor can Hunstein demonstrate standing by the second route—showing a

“risk of real harm.” “[W]hile very nearly any level of direct injury is sufficient to

show a concrete harm, the risk-of-harm analysis entails a more demanding

standard—courts are charged with considering the magnitude of the risk.”

Muransky, 979 F.3d at 927. “Factual allegations that establish a risk that is

substantial, significant, or poses a realistic danger will clear this bar[.]” Id. at 933.

Put slightly differently, to constitute injury in fact, the “threatened injury must be

certainly impending.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013).


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Again, Hunstein alleges only that a debtor “may well be harmed by the spread” of

the sort of information at issue here. That vague allegation falls short of a risk that

is “substantial, significant, or poses a realistic danger,” Muransky, 979 F.3d at 933,

or is “certainly impending,” Clapper, 568 U.S. at 409.

                                          C

      We thus consider whether Hunstein can show standing in the third manner—

through a statutory violation. “[T]he violation of a procedural right granted by

statute can be sufficient in some circumstances to constitute injury in fact,” such

that “a plaintiff . . . need not allege any additional harm beyond the one Congress

has identified.” Spokeo, 136 S. Ct. at 1549. Spokeo instructs that in determining

whether a statutory violation confers Article III standing, we should consider

“history and the judgment of Congress.” Id.

                                           1

      Starting with history, we can discern a concrete injury where “intangible

harm has a close relationship to a harm that has traditionally been regarded as

providing a basis for a lawsuit in English or American courts.” Id. Put differently,

we look to “whether the statutory violation at issue led to a type of harm that has

historically been recognized as actionable.” Muransky, 979 F.3d at 926.

Muransky explains that the “fit between a new statute and a pedigreed common-




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law cause of action need not be perfect, but we are called to consider at a minimum

whether the harms match up between the two.” Id.

       For more than a century, invasions of personal privacy have been regarded

as a valid basis for tort suits in American courts. See, e.g., Pavesich v. New

England Life Ins. Co., 122 Ga. 190, 50 S.E. 68 (1905); Munden v. Harris, 153 Mo.

App. 652, 134 S.W. 1076 (1911); Kunz v. Allen, 102 Kan. 883, 172 P. 532 (1918).

By 1977, the Restatement (Second) noted that “the existence of a right of privacy

is now recognized in the great majority of the American jurisdictions that have

considered the question.” Restatement (Second) of Torts § 652A cmt. a. (Am. Law

Inst. 1977).

      More particularly, the term “invasion of privacy” comprises an identifiable

family of common-law torts—including, most relevantly here, “public disclosure

of private facts.” Invasion of Privacy, Black’s Law Dictionary 952 (10th ed.

2014). It is hornbook law that “[o]ne who gives publicity to a matter concerning

the private life of another is subject to liability to the other for invasion of his

privacy, if the matter publicized is of a kind that (a) would be highly offensive to a

reasonable person, and (b) is not of legitimate concern to the public.” Restatement

(Second) of Torts § 652D (1977); accord, e.g., 77 C.J.S. Right of Privacy and

Publicity § 32; 62A Am. Jur. 2d Privacy § 79. Indeed, the Supreme Court itself

has recognized “the individual interest in avoiding disclosure of personal matters”


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 and has recognized that “both the common law and the literal understandings of

 privacy encompass the individual’s control of information concerning his or her

 person.” United States Dep’t of Justice v. Reporters Comm. for Freedom of the

 Press, 489 U.S. 749, 763 (1989) (citation and quotation marks omitted).

       Having established the historical pedigree of invasion-of-privacy torts—in

 particular, the sub-species applicable to the public disclosure of private facts—we

 next consider whether Preferred’s alleged statutory violation is sufficiently

 analogous. Notably, the FDCPA’s statutory findings explicitly identify “invasions

 of individual privacy” as one of the harms against which the statute is directed. 15

 U.S.C. § 1692(a). And to that end, the statutory provision under which Hunstein

 has sued here expressly prohibits a debt collector from “communicat[ing]” with

 any but a few persons or entities “in connection with the collection of any debt.”

 Id. § 1692c(b). Although § 1692c(b) isn’t identical in all respects to the invasion-

 of-privacy tort, we have no difficulty concluding that it bears “a close relationship

 to a harm that has traditionally been regarded as providing a basis for a lawsuit in

 English or American courts.” Spokeo, 136 S. Ct. at 1549.

       Perry v. Cable News Network, Inc., 854 F.3d 1336 (11th Cir. 2017), strongly

 supports that conclusion. Perry concerned a plaintiff’s allegations that CNN

 divulged his news-viewing history to a third-party in violation of the Video

 Privacy Protection Act. Emphasizing the widespread recognition both of the right


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 to privacy in general and, more particularly, the privacy interest implicated by the

 VPPA—the interest in preventing the disclosure of personal information—the

 Court in Perry concluded that the statutory violation of the VPPA constituted a

 cognizable Article III injury. Id. at 1341 (citing Reporters, 489 U.S. at 762–63).

 Hunstein’s allegations closely resemble those in Perry. The VPPA prohibits “[a]

 video tape service provider [from] knowingly disclos[ing], to any person,

 personally identifiable information concerning any consumer of such provider.”

 18 U.S.C. § 2710(b). As relevant here, the FDCPA similarly prohibits a debt

 collector from “communicat[ing], in connection with the collection of any debt,

 with any person other than the consumer[.]” §1692c(b). The two statutes thus

 share a common structure—A may not share information about B with C. Because

 we find Perry’s reasoning persuasive and analogous, we adopt it here.

       Our decision in Trichell does not require a contrary conclusion. That case

 addressed a claim under a different FDCPA provision, § 1692e, which states that a

 “debt collector may not use any false, deceptive, or misleading representation or

 means in connection with the collection of any debt.” 15 U.S.C. § 1692e. The

 plaintiffs in Trichell alleged that debt collectors had sent them misleading letters,

 and in assessing their claims’ pedigree, we determined that the “closest historical

 comparison is to causes of action for fraudulent or negligent misrepresentation.”

 964 F.3d at 998. Canvassing the common-law history of those torts, we held that


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 the plaintiffs’ claims lacked the necessary “close relationship” to them. Id. at 997–

 98. That conclusion is entirely consistent with our holding here that Hunstein has

 standing to sue under a different FDCPA provision. Hunstein’s claim, unlike the

 Trichell plaintiffs’, arises under § 1692c(b) and bears a close relationship to a

 common-law tort.

                                           2

        Although it presents a closer question, we conclude that “the judgment of

 Congress” also favors Hunstein. Congress, of course, expresses its “judgment” in

 only one way—through the text of duly enacted statutes. Even assuming that

 § 1692c(b) does not clearly enough express Congress’s judgment that injuries of

 the sort that Hunstein alleges are actionable, here Congress went further to

 “explain itself.” Huff, 923 F.3d at 466. In particular, as already noted, in a section

 of the FDCPA titled “Congressional findings and declaration of purpose,”

 Congress identified the “invasion[] of individual privacy” as one of the harms

 against which the statute is directed. 15 U.S.C. § 1692(a). That, we think, is

 sufficient.

        It’s true that we pointed in Trichell to the FDCPA’s language that a person

 may recover “any actual damage sustained by such person as a result of” an

 FDCPA violation and “such additional damages as the court may allow,” 15

 U.S.C. § 1692k(a), as evidence of Congress’s judgment that violations of a


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 different provision—§ 1692e—do not ipso facto constitute a concrete injury.

 Trichell, 964 F.3d at 1000. We don’t read § 1692k(a), though, as categorically

 limiting the class of FDCPA plaintiffs to those with actual damages—particularly

 where, as here, the FDCPA’s statutory findings expressly address the very harm

 alleged—an “invasion[] of individual privacy.” 15 U.S.C. § 1692(a).

                                        * * *

       Because (1) § 1692c(b) bears a close relationship to a harm that American

 courts have long recognized as cognizable and (2) Congress’s judgment indicates

 that violations of §1692c(b) constitute a concrete injury, we conclude that Hunstein

 has the requisite standing to sue.

                                          III

       Having determined that Hunstein has standing to sue under § 1692c(b), we

 now consider the merits of his case. Recall that § 1692c(b) states that, subject to

 several exceptions, “a debt collector may not communicate, in connection with the

 collection of any debt,” with anyone other than the consumer. 15 U.S.C.

 § 1692c(b). The parties agree that Preferred is a “debt collector,” that Hunstein is a

 “consumer,” and that the alleged debt at issue here was a “consumer debt,” all

 within the meaning of § 1692c(b). Helpfully, the parties also agree that Preferred’s

 transmittal of Hunstein’s personal information to Compumail constitutes a




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 “communication” within the meaning of the statute.3 Accordingly, the sole

 question before us is whether Preferred’s communication with Compumail was “in

 connection with the collection of any debt,” such that it violates §1692c(b).

 Hunstein contends that the plain meaning of the phrase “in connection with the

 collection of any debt” and relevant precedents show that it was and does.

 Preferred, conversely, urges us to adopt a “factor-based analysis” that shows that, it

 says, its communication with Compumail was not “in connection with the

 collection of any debt.”

        We begin with the plain meaning of the phrase “in connection with” and its

 cognate word, “connection.” Dictionaries have adopted broad definitions of both.

 Webster’s Third defines “connection” to mean “relationship or association.”

 Connection, Webster’s Third International Dictionary at 481 (1961), and the

 Oxford Dictionary of English defines the key phrase “in connection with” to mean

 “with reference to [or] concerning,” In Connection With, Oxford Dictionary of

 English at 369 (2010). Usage authorities further explain that the phrase “in




 3
  Section 1692a(2) defines communication as “the conveying of information regarding a debt
 directly or indirectly to any person through any medium.” 15 U.S.C. § 1692a(2).

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 connection with” is “invariably a vague, loose connective.” Bryan A. Garner,

 Garner’s Dictionary of Legal Usage 440 (3d ed. 2011).

       Preferred’s transmittal to Compumail included specific details regarding

 Hunstein’s debt: Hunstein’s status as a debtor, the precise amount of his debt, the

 entity to which the debt was owed, and the fact that the debt concerned his son’s

 medical treatment, among other things. It seems to us inescapable that Preferred’s

 communication to Compumail at least “concerned,” was “with reference to,” and

 bore a “relationship [or] association” to its collection of Hunstein’s debt. We thus

 hold that Hunstein has alleged a communication “in connection with the collection

 of any debt” as that phrase is commonly understood.

       Preferred resists that conclusion on three different grounds, which we

 address in turn.

                                          A

       First, Preferred relies on our interpretation of another FDCPA provision,

 § 1692e, to argue that communications “in connection with the collection of any

 debt” necessarily entail a demand for payment. In relevant part, § 1692e states that

 “[a] debt collector may not use any false, deceptive, or misleading representation

 or means in connection with the collection of any debt.” 15 U.S.C. § 1692e

 (emphasis added). In the line of cases interpreting the meaning of “in connection

 with the collection of any debt” in § 1692e, we have focused on the language of the


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 underlying communication. In Reese v. Ellis, Painter, Ratterree & Adams, LLP,

 for instance, in concluding that a law firm’s letter to a consumer was “in

 connection with the collection of any debt” within the meaning of § 1692e, we

 emphasized that the letter expressly stated that the firm was attempting to collect a

 debt and was acting as a debt collector, demanded full and immediate payment,

 and threatened to add attorneys’ fees to the outstanding balance if the debtors

 didn’t pay. 678 F.3d 1211, 1217 (11th Cir. 2012). Similarly, in Caceres v.

 McCalla Raymer, LLC, we held that a collection letter constituted a

 “communication in connection with the collection of a[ny] debt” under § 1692e for

 similar reasons. Quoting the letter, we emphasized “that it is ‘for the purpose of

 collecting a debt;’ it refers in two additional paragraphs to ‘collection efforts;’ it

 states that collections efforts will continue and that additional attorneys’ fees and

 costs will accrue; it states the amount of the debt and indicates that it must be paid

 in certified funds; and it gives the name of the creditor and supplies the law firm’s

 phone number in the paragraph where it talks about payments.” 755 F.3d 1299,

 1301–03 (11th Cir. 2014).

       Relying on Caceres and Reese—both of which, again, addressed § 1692e—

 the district court here adopted the following test:

       When determining whether a communication was made in connection
       with the collection of a[ny] debt, the courts look to the language of the
       communication itself to ascertain whether it contains a demand for
       payment and warns of additional fees or actions if payment is not
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       tendered. Consequently, when determining whether the transmission
       of information to a third party constitutes a violation of the FDCPA, it
       is important to consider whether the communication makes an express
       or implied demand for payment.

       The district court’s conclusion that the phrase “in connection with the

 collection of any debt” necessarily entails a demand for payment defies the

 language and structure of § 1692c(b) for two separate but related reasons—neither

 of which applies to § 1692e. First, the demand-for-payment interpretation would

 render superfluous the exceptions spelled out in §§ 1692c(b) and 1692b. Consider

 as an initial matter the exceptions specified in § 1692c(b) itself: “[A] debt

 collector may not communicate, in connection with the collection of any debt, with

 any person other than the consumer, his attorney, a consumer reporting agency if

 otherwise permitted by law, the creditor, the attorney of the creditor, or the

 attorney of the debt collector[.]” 15 U.S.C. § 1692c(b) (emphasis added).

 Communications with four of the six excepted parties—a consumer reporting

 agency, the creditor, the attorney of the creditor, and the attorney of the debt

 collector—would never include a demand for payment. The same is true of the

 parties covered by § 1692b and, by textual cross-reference, excluded from

 § 1692c(b)’s coverage: “person[s] other than the consumer” with whom a debt

 collector might communicate “for the purpose of acquiring location information




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 about the consumer.” Id. § 1692b. A debt collector would presumably never make

 a demand for payment of a party matching that description.

       The upshot is that the phrase “in connection with the collection of any debt”

 in § 1692c(b) must mean something more than a mere demand for payment.

 Otherwise, Congress’s enumerated exceptions would be redundant. Under the

 district court’s demand-for-payment interpretation, Congress wouldn’t have

 needed to include exceptions for communications with consumer reporting

 agencies, creditors, attorneys of creditors, attorneys of debt collectors, or persons

 providing a debtor’s location information; those communications would have been

 foreclosed ipso facto by the phrase “in connection with the collection of any debt.”

 It is a “cardinal principle of statutory construction” that “a statute ought, upon the

 whole, to be so construed that, if it can be prevented, no clause, sentence, or word

 shall be superfluous[.]” Duncan v. Walker, 533 U.S. 167, 174 (2001) (quotation

 marks omitted); accord, e.g., Antonin Scalia & Bryan A. Garner, Reading Law:

 The Interpretation of Legal Texts 174 (2012) (“If possible, every word and every

 provision is to be given effect . . . . None should be ignored. None should

 needlessly be given an interpretation that causes it to duplicate another provision or

 to have no consequence.”). Because it is possible—and indeed, we think, more




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 natural—to interpret § 1692c(b) in a way that does not render most of its textually

 specified exceptions redundant, we will do so.

       Second, and relatedly, the district court’s interpretation renders yet another

 portion of § 1692c(b) meaningless. By insisting on a demand for payment, the

 district court essentially interpreted “in connection with the collection of any debt”

 to mean “to collect any debt.” Under this interpretation, the key phrase “in

 connection with” has no independent meaning or force. But as just explained, we

 have a duty to “give effect, if possible, to every clause and word of a statute[.]”

 Duncan, 533 U.S. at 174.

       The district court seems to have been led astray by its reliance on decisions

 interpreting § 1692e, whose language and operation are different from

 § 1692c(b)’s in important respects. As a linguistic matter, § 1692e contains none

 of the specific exceptions that § 1692c(b) does; accordingly, there was no risk in

 Reese or Caceres that, by reading a “demand for payment” gloss into § 1692e, we

 would render other portions of that statute redundant or meaningless. And as an

 operational matter, § 1692e—which prohibits “false, deceptive, or misleading

 representation or means in connection with the collection of any debt”—covers the

 sorts of claims that are brought by recipients of debt collectors’ communications—

 i.e., debtors. See Caceres, 755 F.3d at 1300–1301 (case brought by recipient of

 letter, the debtor); Reese, 678 F.3d at 1214 (same). As its title indicates, by


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 contrast, § 1692c(b), targets debt collectors’ “[c]ommunication with third parties,”

 not debtors. In the typical § 1692c(b) case, the debtor isn’t the recipient of the

 challenged communication. Linguistic differences aside, this practical operational

 difference undermines any argument that the meaning of the phrase “in connection

 with the collection of any debt” must necessarily be the same in § 1692c(b) as in §

 1692e.

                                           B

       Preferred separately urges us to adopt the holistic, multi-factoring balancing

 test that the Sixth Circuit decreed in its unpublished opinion in Goodson v. Bank of

 Am., N.A., 600 Fed. Appx. 422 (6th Cir. 2015). That test counsels courts

 confronting § 1692e’s “in connection with the collection of any debt” language to

 take into account the following seven considerations:

       (1) the nature of the relationship of the parties; (2) whether the
       communication expressly demanded payment or stated a balance due;
       (3) whether it was sent in response to an inquiry or request by the
       debtor; (4) whether the statements were part of a strategy to make
       payment more likely; (5) whether the communication was from a debt
       collector; (6) whether it stated that it was an attempt to collect a debt;
       and (7) whether it threatened consequences should the debtor fail to
       pay.

 Goodson, 600 F. App’x at 431. We decline Preferred’s invitation for two related

 reasons.

       First, and perhaps most obviously, Goodson and the cases that have relied on

 it concern § 1692e—not § 1692c(b). And as just explained, §§ 1692c(b) and
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 1692e differ both (1) linguistically, in that the former includes a series of

 exceptions that an atextual reading risks rendering meaningless, while the latter

 does not, and (2) operationally, in that they ordinarily involve different parties.

 Goodson’s seventh factor—whether the communication threatened consequences

 should the debtor fail to pay—illustrates this point. It makes little sense for a debt

 collector to threaten consequences should the debtor fail to pay in a

 communication that is not sent to the debtor himself.

       Second, we believe that in the context of § 1692c(b), the phrase “in

 connection with the collection of any debt” has a discernible ordinary meaning that

 obviates the need for resort to extratextual “factors.” All too often, multifactor

 tests—especially seven-factor tests like Goodson’s—obscure more than they

 illuminate. Parties to FDCPA-governed transactions—debtors, creditors, debt

 collectors, lawyers, etc.—are entitled to guidance about the scope of permissible

 activity. They are likelier to get it even from a broadly framed statutory language

 than from a judge-made gestalt.

                                            C

       Lastly, Preferred makes what we’ll call an “industry practice” argument. It

 contrasts what it says is the widespread use of mail vendors like Compumail and

 the relative dearth of FDCPA suits against them. More particularly, Preferred

 identifies cases involving mail vendors and emphasizes that none of them hold that


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 a debt collector’s mail vendor violated the FDCPA. True enough, but none of the

 cases that Preferred cites involved § 1692c(b) claims, and the courts in those cases

 certainly had no obligation to sua sponte determine whether the collectors’

 communications to their vendors violated § 1692c(b). That this is (or may be) the

 first case in which a debtor has sued a debt collector for disclosing his personal

 information to a mail vendor hardly proves that such disclosures are lawful.

       One final (and related) point: It’s not lost on us that our interpretation of

 § 1692c(b) runs the risk of upsetting the status quo in the debt-collection industry.

 We presume that, in the ordinary course of business, debt collectors share

 information about consumers not only with dunning vendors like Compumail, but

 also with other third-party entities. Our reading of § 1692c(b) may well require

 debt collectors (at least in the short term) to in-source many of the services that

 they had previously outsourced, potentially at great cost. We recognize, as well,

 that those costs may not purchase much in the way of “real” consumer privacy, as

 we doubt that the Compumails of the world routinely read, care about, or abuse the

 information that debt collectors transmit to them. Even so, our obligation is to

 interpret the law as written, whether or not we think the resulting consequences are

 particularly sensible or desirable. Needless to say, if Congress thinks that we’ve




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 misread § 1692c(b)—or even that we’ve properly read it but that it should be

 amended—it can say so.

                                         IV

       To sum up, Hunstein has Article III standing to bring his claim under

 § 1692c(b). Further, because Preferred’s transmittal of Hunstein’s personal debt-

 related information to Compumail constituted a communication “in connection

 with the collection of any debt” within the meaning of § 1692c(b)’s key phrase,

 Hunstein adequately stated a claim.

       REVERSED and REMANDED.




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                                            UNITED STATES COURT OF APPEALS
                                               FOR THE ELEVENTH CIRCUIT

                                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                            56 Forsyth Street, N.W.
                                                            Atlanta, Georgia 30303


 David J. Smith                                                                                                        For rules and forms visit
 Clerk of Court                                                                                                        www.ca11.uscourts.gov

                                                            April 21, 2021

 MEMORANDUM TO COUNSEL OR PARTIES

 Appeal Number: 19-14434-HH
 Case Style: Richard Hunstein v. Preferred Collection
 District Court Docket No: 8:19-cv-00983-TPB-TGW

 This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system, unless
 exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF system by registering for an
 account at www.pacer.gov. Information and training materials related to electronic filing, are available at
 www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has this day been
 entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

 The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing en
 banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for rehearing
 or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules. Costs are governed
 by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and an objection thereto is
 governed by 11th Cir. R. 39-2 and 39-3.

 Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
 persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a
 copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for rehearing en banc. See
 11th Cir. R. 35-5(k) and 40-1 .

 Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on the
 appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for writ of
 certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
 cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

 Pursuant to Fed.R.App.P. 39, costs taxed against appellee.

 Please use the most recent version of the Bill of Costs form available on the court's website at www.ca11.uscourts.gov.

 For questions concerning the issuance of the decision of this court, please call the number referenced in the signature block
 below. For all other questions, please call Christopher Bergquist, HH at 404-335-6169.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Jeff R. Patch
 Phone #: 404-335-6151

                                                                                             OPIN-1A Issuance of Opinion With Costs
